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                         EXHIBIT 11
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                              Exemplary Infringement Claim Chart for U.S. Patent No. 10,912,501
Defendant Masimo Corporation and Counterclaimants Masimo Corporation and Cercacor Laboratories, Inc. (“Masimo”) hereby
provides exemplary evidence of infringement of the claims of U.S. Patent No. 10,912,501 (“the ’501 Patent”). Masimo’s chart below
demonstrates infringement of Claim 1 of the ’501 Patent by an exemplary accused product—Apple Watch Series 6. The chart shows
how the exemplary accused product infringes that claim literally or under the doctrine of equivalents. The chart (including any images,
annotations, and/or highlighting herein) is exemplary and demonstrates infringement of the identified claim regardless of whether the
accused product is used with other modes and/or with other firmware or software. Masimo expressly reserves the right to amend or
supplement this chart in view of further discovery, information, and analysis, including by, but not limited to, identifying additional
accused products and evidence of infringement.

          Claim 1                                                   Apple Watch Series 6

 [1PRE] A user-worn           Apple Watch Series 6 is a user-worn device configured to non-invasively measure a physiological
 device configured to non-    parameter of a user.
 invasively measure a
 physiological parameter      Apple acknowledges that Apple Watch Series 6 is worn on the wrist and non-invasively
 of a user, the user-worn     measures—with “an optical sensor” that “uses red and infrared light”—physiological parameters
 device comprising:           such as “heart rate” by using the Heart Rate app on the device and “blood oxygen” (i.e., oxygen
                              saturation) level by using the Blood Oxygen app on the device.

                              See, e.g., https://www.apple.com/newsroom/2020/09/apple-watch-series-6-delivers-breakthrough-
                              wellness-and-fitness-capabilities (last visited Dec. 5, 2022) (Apple’s Sept. 15, 2020 press release
                              announcing Apple Watch Series 6: “Apple today announced Apple Watch Series 6, introducing a
                              revolutionary Blood Oxygen feature that offers users even more insight into their overall wellness
                              . . . .”); id. (excerpted and reproduced below).




                                                                   1
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Claim 1                                           Apple Watch Series 6




              See, e.g., https://web.archive.org/web/20220725113915/https://support.apple.com/en-
              us/HT211027 (last visited Dec. 5, 2022) (explaining “How to take a blood oxygen measurement”:
              “Make sure that your Apple Watch is snug but comfortable on your wrist.”) (excerpted and
              reproduced below).




                                                2
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Claim 1                                           Apple Watch Series 6




              See, e.g., https://support.apple.com/en-us/HT204665 (last visited Dec. 5, 2022) (“Wearing your
              Apple Watch”: “the back of your Apple Watch needs skin contact”; “the sensors will work only if
              you wear your Apple Watch on the top of your wrist”) (excerpted and reproduced below).




                                                 3
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Claim 1                                     Apple Watch Series 6




                                            4
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Claim 1                                            Apple Watch Series 6

              See, e.g., https://web.archive.org/web/20220725113915/https://support.apple.com/en-
              us/HT211027 (last visited Dec. 5, 2022) (excerpted and reproduced below).




              See, e.g., https://support.apple.com/en-us/HT204666 (last visited Dec. 5, 2022) (confirming that
              the optical heart sensor in Apple Watch uses “photoplethysmography”) (excerpted and reproduced
              below).




                                                 5
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Claim 1                                     Apple Watch Series 6




                                            6
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Claim 1                                             Apple Watch Series 6

              See, e.g., Apple’s “It Already Does That” Advertisement,
              https://www.youtube.com/watch?v=zRVklyB4tFA (last visited Dec. 5, 2022) (depicting users
              wearing Apple Watch Series 6 on their wrists, with the watch non-invasively measuring
              physiological parameters such as heart rate and oxygen saturation; admitting that Apple Watch
              Series 6 has “an optical sensor” that “uses red and infrared light” to measure “heart rate” and
              “blood oxygen level”) (excerpted and reproduced below);
              https://www.apple.com/105/media/us/apple-watch-series-6/2020/7f870ecd-39d9-4ae4-9d90-
              3f1ff588df98/films/it-already-does-that/apple-watch-series-6-it-already-does-that-tpl-us-
              2020_16x9.m3u8 (last visited Aug. 26, 2022) (same).




                                                  7
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Claim 1                                     Apple Watch Series 6




                                            8
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Claim 1                                             Apple Watch Series 6


               See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
               series-6/ (last visited Dec. 5, 2022) (“The remarkable new sensor and app in Apple Watch Series 6
               allow you to take on-demand readings of your blood oxygen as well as background readings, day
               and night.”) (excerpted and reproduced below).




                                                   9
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                                         10
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Claim 1                                             Apple Watch Series 6


               See, e.g., https://support.apple.com/en-us/HT204666 (last visited Dec. 5, 2022) (displaying the
               “Heart Rate” app on Apple Watch Series 6 and noting that users can “can check [their] heart rate
               any time using the Heart Rate app.”) (excerpted and reproduced below).




                                                  11
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Claim 1                                             Apple Watch Series 6

               See, e.g.,
               https://web.archive.org/web/20220610053603/https://support.apple.com/guide/watch/heart-rate-
               apda88aefe4c/watchos (last visited Dec. 5, 2022) (“Check your heart rate on Apple Watch”; “Your
               Apple Watch continues measuring your heart rate as long as you’re wearing it.”) (excerpted and
               reproduced below).




               See, e.g., https://support.apple.com/en-us/HT204666 (last visited Dec. 5, 2022) (showing that a
               user’s “Heart Rate” rate is captured over time and that Apple provides “Heart Rate” trends over
               time to the user on an iPhone) (excerpted and reproduced below).




                                                  12
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Claim 1                                             Apple Watch Series 6




               See, e.g.,
               https://web.archive.org/web/20220610053603/https://support.apple.com/guide/watch/heart-rate-
               apda88aefe4c/watchos (last visited Dec. 5, 2022) (“See a graph of your heart rate data” and “You
               can see your heart rate over the last hour, day, week, month, or year. Tap Show More Heart Rate
               Data and you can also see the range of your heart rate during the selected time period; your



                                                  13
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Claim 1                                              Apple Watch Series 6

               resting, walking average, workout, sleep, and Breathe rates; and any high or low heart rate
               notifications.”) (excerpted and reproduced below).




                                                   14
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         Claim 1                                                  Apple Watch Series 6

[1A] at least three light   Apple Watch Series 6 includes at least three light emitting diodes (LEDs).
emitting diodes (LEDs);
                            The optical (or “blood oxygen”) sensor on the back of Apple Watch Series 6 has “four LED
                            clusters”—or four sets of LED emitters—comprising “[g]reen, red, and infrared LEDs,” where at
                            least one LED (e.g., the red LED) is configured to emit light at a first wavelength (e.g., red), a
                            second LED (e.g., the green LED) is configured to emit light at a second wavelength (e.g., green),
                            and a third LED (e.g., the infrared LED) is configured to emit light at a third wavelength (e.g.,
                            infrared).

                            See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
                            series-6/ (last visited Dec. 5, 2022) (“The new blood oxygen sensor is made up of four LED
                            clusters and four photodiodes. Incorporated into the completely redesigned back crystal, this new
                            sensor works in concert with the Blood Oxygen app to determine your blood oxygen level.”)
                            (excerpted and reproduced below).




                                                                15
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Claim 1                                              Apple Watch Series 6




               See, e.g., https://www.apple.com/newsroom/2020/09/apple-watch-series-6-delivers-breakthrough-
               wellness-and-fitness-capabilities (last visited Dec. 5, 2022) (Apple’s Sept. 15, 2020 press release
               announcing Apple Watch Series 6: “To compensate for natural variations in the skin and improve
               accuracy, the Blood Oxygen sensor employs four clusters of green, red, and infrared LEDs, along
               with the four photodiodes on the back crystal of Apple Watch, to measure light reflected back
               from blood. Apple Watch then uses an advanced custom algorithm built into the Blood Oxygen
               app, which is designed to measure blood oxygen between 70 percent and 100 percent. On-demand
               measurements can be taken while the user is still, and periodic background measurements occur
               when they are inactive, including during sleep. All data will be visible in the Health app, and the
               user will be able to track trends over time to see how their blood oxygen level changes.”).

               See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
               series-6/ (last visited Dec. 5, 2022) (“Green, red, and infrared LEDs shine light onto the blood



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Claim 1                                             Apple Watch Series 6

               vessels in your wrist, and photodiodes measure the amount of light reflected back. Advanced
               algorithms then calculate the color of your blood, which indicates the amount of oxygen present.”)
               (excerpted and reproduced below).




               See, e.g., https://web.archive.org/web/20220725113915/https://support.apple.com/en-
               us/HT211027 (last visited Dec. 5, 2022) (“In Apple Watch Series 6 and Series 7, the optical heart
               sensor has been redesigned to add blood oxygen measurement capabilities. During a blood oxygen
               measurement, the back crystal shines red and green LEDs and infrared light onto your wrist.
               Photodiodes then measure the amount of light reflected back. Advanced algorithms use this data to


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Claim 1                                              Apple Watch Series 6

               calculate the color of your blood. The color determines your blood oxygen level — bright red
               blood has more oxygen, while dark red blood has less.”) (excerpted and reproduced below).




               For example, a teardown of Apple Watch Series 6 confirms that it contains four emitters (i.e., sets
               of LEDs) spaced apart, each emitter (set of LEDs) including three LEDs (red, infrared (“IR”), and
               green):




                                                   18
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Claim 1                                              Apple Watch Series 6




               Further, for example, a teardown of Apple Watch Series 6 shows the location of the first set of
               LEDs, as well as the individual LED configured to emit light at a first wavelength (e.g., red) and
               the individual LED configured to emit light at a second wavelength (e.g., green):




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Claim 1                                              Apple Watch Series 6




               A teardown of Apple Watch Series 6 shows a magnified view of one emitter (set of LEDs),
               including the individual LED configured to emit light at a first wavelength (e.g., red) and the
               individual LED configured to emit light at a second wavelength (e.g., green):




                                                   20
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Claim 1                                              Apple Watch Series 6




               A teardown of Apple Watch Series 6 shows a magnified view of one emitter (set of LEDs), with
               the red LED emitting light at a first wavelength (red, below left) and the green LED emitting light
               at a second wavelength (green, below right):




                                                   21
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         Claim 1                                                    Apple Watch Series 6




[1B] at least three           Apple Watch Series 6 includes four photodiodes (or detectors) arranged on an interior surface of
photodiodes arranged on       (or within) the user-worn device and configured to receive light attenuated by tissue of the user.
an interior surface of the
user-worn device and          For example, Apple acknowledges that the device has “four photodiodes…. [i]ncorporated into
configured to receive light   the … back crystal,” which “measure the amount of light reflected back” from “blood vessels in
attenuated by tissue of the   [the user’s] wrist.”
user;
                              See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
                              series-6/ (last visited Dec. 5, 2022) (“The new blood oxygen sensor is made up of four LED
                              clusters and four photodiodes. Incorporated into the completely redesigned back crystal, this new
                              sensor works in concert with the Blood Oxygen app to determine your blood oxygen level.”)
                              (excerpted and reproduced below).



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Claim 1                                              Apple Watch Series 6




               See, e.g., https://www.apple.com/newsroom/2020/09/apple-watch-series-6-delivers-breakthrough-
               wellness-and-fitness-capabilities (last visited Dec. 5, 2022) (Apple’s Sept. 15, 2020 press release
               announcing Apple Watch Series 6: “To compensate for natural variations in the skin and improve
               accuracy, the Blood Oxygen sensor employs four clusters of green, red, and infrared LEDs, along
               with the four photodiodes on the back crystal of Apple Watch, to measure light reflected back
               from blood. Apple Watch then uses an advanced custom algorithm built into the Blood Oxygen
               app, which is designed to measure blood oxygen between 70 percent and 100 percent. On-demand
               measurements can be taken while the user is still, and periodic background measurements occur
               when they are inactive, including during sleep. All data will be visible in the Health app, and the
               user will be able to track trends over time to see how their blood oxygen level changes.”).


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Claim 1                                               Apple Watch Series 6


               See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
               series-6/ (last visited Dec. 5, 2022) (“Green, red, and infrared LEDs shine light onto the blood
               vessels in your wrist, and photodiodes measure the amount of light reflected back. Advanced
               algorithms then calculate the color of your blood, which indicates the amount of oxygen present.”)
               (excerpted and reproduced below).




               For example, a teardown of Apple Watch Series 6 shows the four photodiodes arranged on an
               interior surface of the device and configured to receive light after the light has been attenuated by
               the tissue:




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Claim 1                                      Apple Watch Series 6




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Claim 1                                              Apple Watch Series 6




               A teardown of Apple Watch Series 6 also shows, for example, the four photodiodes are arranged
               in a quadrant arrangement on an interior surface of the device and configured to receive light at
               different quadrants of a user’s tissue after the light has been attenuated by the tissue:




                                                   26
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Claim 1                                             Apple Watch Series 6




               Apple also acknowledges that “[d]uring a blood oxygen measurement, the back crystal shines red
               and green LEDs and infrared light onto [the user’s] wrist. Photodiodes then measure the amount of
               light reflected back.” Thus, the photodiodes of Apple Watch Series 6 are configured to receive
               light after it has been attenuated by the user’s tissue. See, e.g.,
               https://web.archive.org/web/20220725113915/https://support.apple.com/en-us/HT211027 (last
               visited Dec. 5, 2022) (“In Apple Watch Series 6 and Series 7, the optical heart sensor has been
               redesigned to add blood oxygen measurement capabilities. During a blood oxygen measurement,
               the back crystal shines red and green LEDs and infrared light onto your wrist. Photodiodes then
               measure the amount of light reflected back. Advanced algorithms use this data to calculate the




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        Claim 1                                                    Apple Watch Series 6

                             color of your blood. The color determines your blood oxygen level — bright red blood has more
                             oxygen, while dark red blood has less.”) (excerpted and reproduced below).




[1C] a protrusion arranged   Apple Watch Series 6 includes a protrusion arranged over (or extending over, or above) the four
over the interior surface,   photodiodes and the interior surface on which they are arranged. The protrusion has a convex
the protrusion comprising    surface, and a plurality of openings extend through the protrusion and are positioned over the
a convex surface and a       photodiodes.
plurality of openings
extending through the        As shown below, Apple Watch Series 6 includes a protrusion comprising a convex surface, the
protrusion and positioned    protrusion arranged over (or extending over, or above) the photodiodes and the interior surface on
over the three               which they are arranged. See, e.g.,
photodiodes, the openings    https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-series-6/ (last



                                                                 28
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         Claim 1                                                   Apple Watch Series 6

each comprising an            visited Dec. 5, 2022) (showing a protrusion comprising a convex surface is arranged over (or
opaque lateral surface, the   extending over, or above) the “blood oxygen sensor,” which “is made up of four LED clusters and
plurality of openings         four photodiodes” and is “[i]ncorporated into the completely redesigned back crystal” on the back
configured to allow light     of the device) (excerpted and reproduced below).
to reach the photodiodes,
the opaque lateral surface
configured to avoid light
piping through the
protrusion; and




                              A teardown shows, for example, Apple Watch Series 6 includes a protrusion comprising a convex
                              surface, the protrusion arranged over (or extending over, or above) the photodiodes and the
                              interior surface on which they are arranged.




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Claim 1                                             Apple Watch Series 6




               The convex surface of the Apple Watch Series 6 protrusion is an outermost surface configured to
               contact the tissue of the user and conform the tissue into a concave shape. See, e.g.,
               https://web.archive.org/web/20220725113915/https://support.apple.com/en-us/HT211027 (last
               visited Dec. 5, 2022) (explaining that “the back of your Apple Watch needs to be touching your
               wrist”; “Make sure that the back of your Apple Watch is flush with the top of your wrist”)
               (excerpted and reproduced below).




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Claim 1                                             Apple Watch Series 6




               Various Apple materials show the Apple Watch Series 6 includes a protrusion comprising a
               convex surface arranged over (or extending over, or above) the photodiodes and interior surface.
               See, e.g., Apple Watch Series 6 3D Model,
               https://www.apple.com/105/media/us/apple-watch-series-6/2020/7f870ecd-39d9-4ae4-9d90-
               3f1ff588df98/quick-look/gps-cellular/modern/apple-watch-series-6.usdz (last visited Dec. 5, 2022)
               (excerpted and reproduced below).




                                                  31
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Claim 1                                           Apple Watch Series 6




               See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
               series-6/ (last visited Dec. 5, 2022) (excerpted and reproduced below).




                                                 32
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Claim 1                                             Apple Watch Series 6


               See, e.g., https://developer.apple.com/accessories/Accessory-Design-Guidelines.pdf (last visited
               Dec. 5, 2022) (“Device Dimensional Drawings” for Apple Watch Series 6 at pages 370-371,
               showing and quantifying the protrusion) (excerpted and reproduced below).




               A teardown confirms that the protrusion comprising a convex surface of Apple Watch Series 6
               includes a plurality of openings extending through the protrusion and aligned with the



                                                   33
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Claim 1                                             Apple Watch Series 6

               photodiodes, as shown below. The plurality of openings in the protrusion are configured to allow
               light to reach the underlying photodiodes, as shown below.




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Claim 1                                      Apple Watch Series 6




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Claim 1                                              Apple Watch Series 6

               Included within (or extending across) each opening of Apple Watch Series 6 is a window (or
               optically transmissive material, or optically transparent material), as shown in the teardown below.




               In ITC Investigation No. 337-TA-1276 (the “ITC Investigation”), Masimo accuses the “Apple
               Watch Series 6,” “Apple Watch Series 7,” and “Next-Generation Apple Watches” of infringing,
               among other claims and patents, Claim 12 of the ’501 Patent. Masimo Corp. et al. v. Apple Inc.,


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Claim 1                                              Apple Watch Series 6

               Inv. No. 337-TA-1276, Doc. ID 778396 (Corrected, Redacted (Public) Initial Post-Hearing Brief),
               37 (USITC Aug. 22, 2022). Claim 12 depends from Claim 1 of the ’501 Patent. Specifically, in
               the ITC Investigation, Masimo asserts Apple Watch Series 6 (and other accused devices) include
               “openings each comprising an opaque lateral surface, the plurality of openings configured to allow
               light to reach the photodiodes, the opaque lateral surface configured to avoid light piping through
               the protrusion” because each device includes openings with “Two-Step Opaque PVD Coating +
               Opaque Ink” to avoid light piping through the protrusion. Id., 63 (excerpted and reproduced
               below).




                                                   37
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Claim 1                                              Apple Watch Series 6


               In the ITC Investigation, Apple did not dispute that its accused products, including Apple Watch
               Series 6, include “openings each comprising an opaque lateral surface, … the opaque lateral
               surface configured to avoid light piping through the protrusion.” Id., 62-64.

               A teardown of Apple Watch Series 6 shows, for example, that the openings each include an
               opaque lateral surface (or opaque material or dark coating) that is configured to avoid (or reduce)
               light piping (or unattenuated light).




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        Claim 1                                                  Apple Watch Series 6




                            As shown in the images above, the opaque lateral surface (or opaque material, or dark coating) of
                            the openings of Apple Watch Series 6 is configured to avoid (or reduce) light emitted by the LEDs
                            from reaching the photodiodes unless the emitted light has already been attenuated by the user’s
                            tissue and reflected back toward the photodiodes.


[1D] one or more            Apple Watch Series 6 includes one or more processors configured to receive one or more signals
processors configured to    from the photodiodes and calculate a measurement of the physiological parameter (e.g., heart rate
receive one or more         and/or oxygen saturation) of the user.
signals from the
photodiodes and calculate


                                                               39
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        Claim 1                                                Apple Watch Series 6

a measurement of the      For example, Apple acknowledges that Apple Watch Series 6 has a “S6 SiP with 64-bit dual-core
physiological parameter   processor.” Apple acknowledges that photodiodes measure the amount of light reflected back (see
of the user.              above) and, on information and belief, advanced algorithms executing on the “S6 SiP with 64-bit
                          dual-core processor” then receive signal(s) related to that measurement from the photodiodes to
                          calculate oxygen saturation. See, e.g., https://support.apple.com/kb/SP826?locale=en_US (last
                          visited Dec. 5, 2022) (“Apple Watch Series 6 - Technical Specifications” listing “S6 SiP with 64-
                          bit dual-core processor”); https://www.apple.com/watch/compare (last visited Dec. 5, 2022)
                          (same).

                          A teardown of Apple Watch Series 6 shows, for example, the S6 SiP (which includes a 64-bit
                          dual-core processor, as noted above).




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Claim 1                                              Apple Watch Series 6

               See, e.g., https://www.apple.com/newsroom/2020/09/apple-watch-series-6-delivers-breakthrough-
               wellness-and-fitness-capabilities (last visited Dec. 5, 2022) (Apple’s Sept. 15, 2020 press release
               announcing Apple Watch Series 6: “Apple Watch Series 6 delivers many notable hardware
               improvements, including a faster S6 System in Package (SiP) . . . .”).

               See, e.g., https://web.archive.org/web/20200917194525/https://www.apple.com/apple-watch-
               series-6/ (last visited Dec. 5, 2022) (“Green, red, and infrared LEDs shine light onto the blood
               vessels in your wrist, and photodiodes measure the amount of light reflected back. Advanced
               algorithms then calculate the color of your blood, which indicates the amount of oxygen present.”)
               (excerpted and reproduced below).




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Claim 1                                             Apple Watch Series 6




               See, e.g., https://web.archive.org/web/20220725113915/https://support.apple.com/en-
               us/HT211027 (last visited Dec. 5, 2022) (“In Apple Watch Series 6 and Series 7, the optical heart
               sensor has been redesigned to add blood oxygen measurement capabilities. During a blood oxygen
               measurement, the back crystal shines red and green LEDs and infrared light onto your wrist.
               Photodiodes then measure the amount of light reflected back. Advanced algorithms use this data to
               calculate the color of your blood. The color determines your blood oxygen level — bright red
               blood has more oxygen, while dark red blood has less.”) (excerpted and reproduced below).




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Claim 1                                      Apple Watch Series 6




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